                 UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        Charlotte Division


UNITED STATES OF AMERICA
                                              JUDGMENT OF ACQUITTAL

        vs.

                                              CASE NUMBER: 3:05cr98-2-Mu
ANTONIO LAMONT CROCKETT



      Pursuant to Rule 29, Motion for Judgment of Acquittal, the defendant was found
NOT guilty. IT IS ORDERED that the Defendant is acquitted, discharged from federal
custody, and that any bond be exonerated.

      IT IS SO ORDERED.



                                          Signed: April 5, 2006




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